                       Case 17-51882-CSS         Doc 97     Filed 09/24/18     Page 1 of 3




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

         In re                                                       Chapter 11

         PARAGON OFFSHORE PLC,                                       Bankr. Case No. 16-10386 (CSS)

                               Debtor.


         PARAGON LITIGATION TRUST,

                               Plaintiff,

                 v.

         NOBLE CORPORATION PLC, NOBLE                                Adv. Proc. No. 17-51882 (CSS)
         CORPORATION HOLDINGS LTD, NOBLE
         CORPORATION, NOBLE HOLDING
         INTERNATIONAL (LUXEMBOURG) S.à r.l.,
         NOBLE HOLDING INTERNATIONAL
         (LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
         HOLDINGS LIMITED, MICHAEL A. CAWLEY,
         JULIE H. EDWARDS, GORDON T. HALL, JON A.
         MARSHALL, JAMES A. MACLENNAN, MARY P.
         RICCIARDELLO, JULIE J. ROBERTSON, and
         DAVID WILLIAMS,

                               Defendants.


                                   STIPULATION EXTENDING
                           DEADLINE TO OPPOSE MOTION TO DETERMINE

                       This stipulation (the “Stipulation”) is entered into between plaintiff Paragon

         Litigation Trust (the “Plaintiff”) and defendants Noble Corporation plc, Noble Corporation

         Holdings Ltd., Noble Corporation, Noble Holding International (Luxembourg) S.á.r.l., Noble

         Holding International (Luxembourg NHIL) S.á.r.l., Noble FDR Holdings Limited, Michael A.

         Cawley, Julie H. Edwards, Gordon T. Hall, Jon A. Marshall, James A. MacLennan, Mary P.




01:23666342.1
                             Case 17-51882-CSS              Doc 97        Filed 09/24/18        Page 2 of 3



         Ricciardello, Julie J. Robertson, and David W. Williams (collectively, “Defendants” and together

         with Plaintiff, the “Parties”), by and through their respective undersigned counsel.1

                                                               RECITALS


                    WHEREAS, on September 20, 2018, Defendants filed Defendants’ Motion Pursuant to

         Bankruptcy Rule 7016(b) and 11 U.S.C. § 157(b)(3) for an Order Determining that this Court

         May Only Enter Proposed Findings of Fact and Conclusions of Law with Respect to Counts I

         Through VIII of the Complaint (the “Motion to Determine”). (A.D.I. 94.)

                    WHEREAS, the Parties have conferred and stipulated and agreed as follows:

                     1.       Plaintiff shall have until October 26, 2018 to file and serve its opposition to the

             Motion to Determine.

                     2.       Defendants shall have until November 9, 2018 to file and serve their reply to

             Plaintiff's opposition.

                     3.       This relief is without prejudice to the Parties’ rights, remedies, and/or defenses,

             all of which are preserved, including the right to seek further extension of pre-trial deadlines.



                                                 [SIGNATURE PAGE FOLLOWS]




         1
                In submitting this Stipulation Extending Deadline to Oppose Motion to Determine, Defendants do not consent
                to the entry of final orders or judgments by the Court if it is determined that the Court, absent consent of the
                parties, cannot enter final orders or judgments consistent with Article III of the United States Constitution.


01:23666342.1
                       Case 17-51882-CSS      Doc 97   Filed 09/24/18   Page 3 of 3



         Dated: September 24, 2018


         SKADDEN, ARPS, SLATE, MEAGHER &                  YOUNG CONAWAY STARGATT &
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